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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



   STATE OF NEW JERSEY,                                           Civil Case No. 2:23-cv-03885

                              Plaintiff,

                     v.

    UNITED STATES DEPARTMENT OF
    TRANSPORTATION, FEDERAL HIGHWAY
    ADMINISTRATION, SHAILEN BHATT, in his official
    capacity as Administrator of the Federal Highway
    Administration, and RICHARD J. MARQUIS, in his official
    capacity as Division Administrator of the New York Division
    of the Federal Highway Administration,

                              Defendants,

        and

   METROPOLITAN TRANSIT AUTHORITY and
   TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY,

                               Defendant-Intervenors.


              PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                       MOTION FOR SUMMARY JUDGMENT
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                                  I.       PRELIMINARY STATEMENT

          This is a case about the environmental impacts of a groundbreaking congestion pricing

  scheme—the first ever in our nation’s history—imposed by the Metropolitan Transit Authority

  (“MTA” or “Intervenors”) on all drivers entering Manhattan’s Central Business District

  (“CBD”). 1 This radical change will unquestionably have profound environmental impacts on the

  tri-state area, increasing pollution and harming public health in communities throughout the

  region, including New Jersey. But while the burdens are shared, the benefits are not. Every single

  one of the billions of dollars in annual proceeds from New York’s scheme of charging drivers up

  to $23 when they cross into midtown Manhattan will go to the MTA to fund its mass transportation

  system and mitigate adverse environmental impacts in New York and only in New York. Not one

  penny has been committed to New Jersey.

          Faced with significant environmental impacts and the fundamental unfairness to New

  York’s neighbors, one would have expected the Federal Highway Administration (“FHWA”)—

  the agency responsible for conducting this environmental review—to require that the Project

  Sponsors prepare a comprehensive environmental impact statement (“EIS”) that thoroughly

  considers the project’s significant effects on the region. That is, after all, what the law typically

  requires—and what FHWA has done with other tolling schemes. That is not what FHWA did

  here. Instead, it issued a “Finding of No Significant Impact” (“FONSI”), green-lighting New

  York’s project to advance towards launch in the Spring of 2024. And FHWA did so

  without requiring any mitigation to address the serious environmental impacts that the scheme will

  cause in New Jersey.



  1   Exhibit A to the Declaration of Randy M. Mastro includes a glossary of acronyms used herein. Exhibits
      attached to the Mastro Declaration are referred to as “Ex.”


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         This is the antithesis of what the National Environmental Protection Act (“NEPA”) and the

  Clean Air Act (“CAA”) require. The mountain of paperwork FHWA has produced as an

  administrative record cannot bury the fact that, by issuing a FONSI, it failed to take the “hard look”

  federal law requires of a project with such profound impacts. Indeed, even though FHWA has

  routinely required an EIS for toll projects all across the country, it did not here, instead allowing a

  congestion pricing scheme never before attempted in the nation to go through a fast-tracked

  environmental review process that favored New York State. FHWA did so without requiring any

  mitigation for adversely affected New Jersey communities, or adequately taking into account New

  Jersey’s concerns from inception as a direct stakeholder, or sufficiently considering alternatives to

  this unprecedented scheme, or even requiring the MTA to present for review its actual final

  proposal, which, to this day, remains a work in progress. That is not how the environmental review

  process is supposed to work, and that is not what federal law requires. Because “[j]ustice hurried

  on a proposal of this magnitude is justice denied,” Kootenai Tribe of Idaho v. Veneman, 142 F.

  Supp. 2d 1231, 1247 (D. Idaho 2001), this Court should require FHWA to meet its legal obligations

  to prepare an EIS before the congestion pricing scheme goes forward.

         FHWA’s misguided FONSI violates NEPA’s requirements. NEPA does not allow an

  agency to issue a FONSI and bypass an EIS when the record shows, as here, there will be

  significant unmitigated environmental impacts. Ctr. for Bio. Diversity v. Nat’l Highway Traffic

  Safety Admin., 538 F.3d 1172, 1220 (9th Cir. 2008) (EA “markedly deficient” when “the agency’s

  FONSI is based primarily on its conclusory assertion—contradicted by evidence in the record—

  that the [project] will have no significant environmental impact”). FHWA inexplicably concluded

  that there would be “no significant impact” on New Jersey, even though its Final Environmental

  Assessment (“Final EA”) acknowledged clear and concrete environmental impacts in New




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   Jersey. Rather, FHWA’s analysis of the impacts on New Jersey was cursory as compared to its

   analysis for New York. It failed to analyze several potentially affected New Jersey areas and

   communities with environmental justice concerns, summarily labeled all identified impacts on

   New Jersey as “insignificant,” and committed to no mitigation measures for New Jersey while

   more than $100 million was committed to mitigate similar adverse environmental impacts in New

   York.

           FHWA’s own findings make it clear that an EIS or mitigation is required. Among other

   impacts in New Jersey, FHWA found that once this congestion pricing scheme is implemented,

   Bergen County will experience increased air pollutants through at least 2045 in every measured

   category. This finding is compounded by FHWA’s acknowledgment that several communities

   with environmental justice concerns in Bergen County already rank above the 95th percentile in air

   toxics cancer risk, among other public health indicators. See ECF 7-7 at 17D-17–17D-20. The

   project’s uncontroverted exacerbation of these concrete public health concerns is undoubtedly a

   significant impact under NEPA that warrants completion of an EIS or mitigation. Yet FHWA

   somehow determined the probable impacts on Bergen County and its residents (and those in other

   areas in New Jersey) do not require further assessment or mitigation measures. See ECF 1-3 at

   10. Instead, FHWA concluded that the Bronx, but not Bergen County, was entitled to mitigation

   notwithstanding the Final EA’s finding that traffic increases in New Jersey—which are linked to

   adverse air quality impacts—will be two to four times greater in Bergen County than in the

   Bronx. See id. This finding illustrates a fundamental problem with FHWA’s approach to the Final

   EA and FONSI—its unwillingness to face facts. Rather, FHWA’s “head-in-the-sand approach” is

   the “antithesis of NEPA’s requirement that an agency’s environmental analysis candidly confront




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   the relevant environmental concerns.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914,

   931 (D.C. Cir. 2017).

          FHWA also failed to consider any alternative to the congestion pricing scheme, including

   those less harmful to New Jersey and the region as a whole. FHWA and the MTA had three

   objectives—reduce vehicles miles traveled within the CBD, reduce the number of cars entering in

   the CBD, and raise enough money to “generate sufficient annual net revenues” to fund “[fifteen]

   billion [dollars] for . . . the MTA [c]apital [p]rogram.” ECF 7-1 at 2-5 (emphasis added); see also

   N.Y. Veh. & Traf. Law § 1704-a(1). But it was the last requirement alone—fifteen billion dollars

   in revenue—that rendered three alternative plans insufficient in the FHWA’s eyes, even though

   they would have decreased congestion in the CBD. ECF 7-1 at 2-6. That, however, is no excuse

   for FHWA’s fundamentally flawed and improperly truncated decision-making.

           Moreover, in connection with this unprecedented scheme, the MTA will allocate 10% of

   these funds to Long Island Rail Road and 10% to Metro-North Railroad—but nothing to New

   Jersey’s transit agencies, even though more than 400,000 New Jersey residents commute into

   Manhattan every day, those residents will pay millions of dollars under the congestion pricing

   scheme, and New Jersey will have to incur additional transit-related capital costs to accommodate

   increased ridership caused by the scheme. In short, FHWA has authorized a scheme intended to

   encourage public transit, and at the same time committed no funds to support New Jersey’s transit

   systems. The end result is that New Jersey will bear much of the environmental, financial, and

   public health burden of the congestion pricing scheme, but will see few benefits and no mitigation.

          At every step of the process, FHWA, acting in concert with the MTA, failed to take the

   required “hard look” at the environmental impacts of congestion pricing. Am. Wild Horse, 873

   F.3d at 931. And FHWA openly expressed its willingness to bypass a full environmental review,




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   which would have taken more time and required significant agency resources. This was wholly

   improper.

          NEPA also requires federal agencies to meaningfully consult with the public (including, of

   course, the New Jersey public) and affected stakeholders throughout the environmental review

   process. That did not happen. Instead, New Jersey was effectively cut out of the process.

   Defendants will no doubt claim that the Final EA was the result of many meetings, drafts, and

   comments, and that the document itself is thousands of pages long, but quantity does not make up

   for lack of quality. “Neither the number of meetings nor the volumes of comments are instructive

   . . . if the evidence suggests that the decision-making process was used to rationalize or justify

   decisions already made.” Kootenai Tribe, 142 F. Supp. 2d at 1246. Here, even though the federal

   Environmental Protection Agency (“EPA”) expressly pointed to the “insufficiency of data” in

   FHWA’s environmental assessment “around localized and disproportionate air quality impacts in

   the surrounding area” in New Jersey, ECF 1-1 at 2, FHWA ignored those concerns. Instead, it

   only consulted New York’s environmental, health, and human services departments and never

   even contacted their counterparts across the Hudson.

          In a stunning act of agency cognitive dissonance, FHWA concluded that the additional

   traffic steered to New Jersey would cause increased mobile source air toxins and other pollutants

   in parts of New Jersey, but nonetheless issued a finding of “no significant impact.” That cannot

   stand. FHWA’s determination that the congestion pricing scheme does not require an EIS is

   arbitrary, capricious, unlawful, and violates NEPA for five separate and independent reasons.

          First, FHWA failed to meaningfully consider, propose, and commit to mitigation measures

   to offset the increased air and noise pollution resulting from shifting traffic patterns, even though

   it concluded that the congestion pricing scheme will cause adverse impacts throughout New




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   Jersey. In doing so, FHWA ignored its express finding that, for example, in Bergen County, there

   will be increases in every category of pollutant, volatile organic compounds, nitrogen oxides,

   carbon monoxide and carbon dioxide equivalents. ECF 7-5 at 10-23 to 10-24. In such

   circumstances, NEPA does not allow an agency to issue a FONSI when the record shows there are

   significant impacts on the environment. FHWA did it anyway. Further, although FHWA

   concluded that there will be an increase in daily vehicle-miles traveled in both the Bronx and

   Bergen County—although at a lesser level for the Bronx—it only proposed mitigation for the

   Bronx. This is the epitome of arbitrary and capricious decision-making.

          Second, FHWA avoided considering the full range of environmental impacts on New

   Jersey by cherry-picking which of the seven tolling scenarios to analyze, selectively relying on air

   quality results in parts of the state, and ignoring the EPA’s expertise and its opinion that FHWA

   needed a more robust air quality analysis. This undercuts FHWA’s finding of no significant impact

   and requires an EIS to properly account for these identified impacts.

          Third, FHWA ignored the adverse impacts on New Jersey’s communities with

   environmental justice concerns, which have some of the highest preexisting pollution and chronic

   disease burdens. The place-based mitigation measures adopted in the Final EA would only

   mitigate impacts in New York. There is no indication that there will be any commitment of funds

   for mitigation in New Jersey.

          Fourth, FHWA failed to afford New Jersey agencies a meaningful and early opportunity

   to engage in substantive meetings or dialogue regarding the potential regional impacts of

   congestion pricing in the CBD. FHWA consulted over four times as many New York agencies

   than New Jersey agencies, engaged in meetings with New York agencies more than twice as often

   as they did with New Jersey agencies; and, most importantly, invited no state environmental




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   agencies from New Jersey to participate in the EA process, even though their New York

   counterparts were consulted throughout the entire process.

           Fifth, FHWA failed to assess any option other than the MTA’s congestion pricing scheme

   and a “no action” alternative and ignored a dozen other alternatives, including three that would

   decrease congestion in the CBD.

           Further, FHWA’s failure to perform a conformity analysis under the CAA for New Jersey’s

   State Implementation Plan—although it completed one for New York—is arbitrary and capricious

   because parts of both states are within the same area designated as nonattainment of federal air

   quality standards. Thus, FHWA was required to confirm that the congestion pricing scheme is

   consistent with and does not inhibit progress toward attainment in New Jersey, as it did with New

   York.

           At the end of the day, NEPA does not allow an agency to issue a “finding of no significant

   impact” if adverse impacts remain unmitigated, but FHWA did so here, even though the

   undisputed record reflects express findings of significant impacts throughout New Jersey. For

   these reasons, Plaintiff respectfully requests that the Court grant its Motion for Summary

   Judgment.

                                    II.     FACTUAL BACKGROUND

           A.      New York’s Plans for Congestion Pricing in Manhattan Previously Centered
                   on the Environment: They Now Improperly Focus on Revenue Generation

           In 2007, then-Mayor Bloomberg announced “PlaNYC: A Greener, Greater New York,” a

   proposal to help New York City achieve certain sustainability goals by 2030. 2 The plan involved

   open space, energy improvements, improving water and air quality, addressing climate change,



   2   Jen Chung, Mayor Bloomberg Says Congestion Pricing and Likes It, Gothamist (Apr. 23. 2007),
       https://gothamist.com/news/mayor-bloomberg-says-congestion-pricing-and-likes-it.


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   and, lastly, congestion pricing. Specifically, Bloomberg’s congestion pricing proposal aimed to

   decrease air pollution and asthma rates in the streets of Manhattan, among other goals. 3 While

   lobbying for PlaNYC, Bloomberg touted the environmental benefits of congestion pricing and

   urged New Yorkers and the State legislature to “seize this golden opportunity to use Federal funds

   to reduce congestion [and] improve air quality.” 4 However, due to a lack of public support, state

   assembly leaders blocked the project in 2008. 5

           In October 2017, then-Governor Cuomo brought together a mix of community

   representatives, government officials, and business leaders from across New York to serve on the

   “Fix NYC Advisory Panel,” and tasked that group with developing recommendations to address

   congestion in Manhattan and identifying sources of revenue to fix the ailing subway system. 6 In

   January 2018, this panel issued a report recommending that “the MTA must first invest in public

   transportation alternatives and make improvements in the subway system before implementing a

   zone pricing plan to reduce congestion.” 7 The report explicitly mentioned that this would require

   “completion of an Environmental Impact Statement (EIS).” 8

           Fix NYC’s sensible approach was subverted when, in 2019, the New York State

   Legislature pursued a congestion pricing program that would stand to benefit New York City at

   the expense of neighboring communities and states. In April 2019, the Legislature passed the




   3   Id.
   4   Matthew Schuerman, Mayor Bloomberg Outlines Case for Congestion Pricing, WNYC (Mar. 19, 2008),
       https://www.wnyc.org/story/78009-mayor-bloomberg-outlines-case-for-congestion-pricing/; Sewell Chan, U.S.
       Offers New York $354 Million for Congestion Pricing, N.Y. Times (Aug. 14, 2007),
       https://archive.nytimes.com/cityroom.blogs.nytimes.com/2007/08/14/us-will-give-new-york-354-million-for-
       congestion-pricing/?searchResultPosition=1.
   5   Nicholas Confessore, $8 Traffic Fee for Manhattan Gets Nowhere, New York Times (Apr. 8, 2008),
       https://www.nytimes.com/2008/04/08/nyregion/08congest.html.
   6   Fix NYC Report, HNTB (Jan. 19, 2023), https://www.hntb.com/fix-nyc-report/.
   7   Id. at 3 (emphasis added).
   8   Id. at 5.


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   MTA Reform and Traffic Mobility Act (the “TMA”). The goal of the TMA is clear: to create a

   dedicated revenue stream that “at minimum, ensure[s] annual revenues and fees collected under

   such program . . . to fund fifteen billion dollars for . . . the 2020 to 2024 MTA capital program,”

   as well as any successor programs, while reducing traffic congestion within the CBD. N.Y. Veh.

   & Traf. Law § 1704-a(1). The TMA authorized the Triborough Bridge and Tunnel Authority

   (“TBTA”), an affiliate of the MTA, to “establish and charge variable tolls and fees.” Id. It also

   directed the TBTA to establish a plan to toll vehicles entering or remaining in the CBD. Id. §§

   1704-a(1), 1705. The CBD will generally include the entirety of Manhattan south of 60th Street,

   with a few key exceptions, such as the FDR Drive and the West Side Highway. ECF 7-1 at ES-2.

          The TMA imposed only two requirements for the ultimate congestion pricing scheme: (1)

   qualifying vehicles transporting persons with disabilities and authorized emergency vehicles are

   exempt; and (2) passenger vehicles will be tolled no more than once a day. N.Y. Veh. & Traf.

   Law §§ 1704-a(1)–(2). The TMA also left room for the scheme to charge passenger vehicles that

   “remain” in the CBD, which are detected when leaving but not entering the same day. Id. The

   remaining contours are left up to the TBTA and its appointed Traffic Mobility Review Board

   (“TMRB”). Based on the TMRB’s recommendations, the TBTA will set the toll price, the time

   period when the toll will be operative, credits to cars that access the CBD through bridges and

   tunnels and already pay a toll, exemptions for taxis, and pricing for buses, among other

   considerations. See e.g., ECF 7-1 at 2-30 to 2-34 (describing the seven different tolling scenarios).

          Following the TMA’s enactment, the MTA/TBTA, the New York State Department of

   Transportation (“NYSDOT”), and the New York City Department of Transportation

   (“NYCDOT”) (collectively, the “Project Sponsors”) began developing proposals for the

   congestion pricing scheme and submitted an Expression of Interest to FHWA, seeking tolling




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   authority under the Value Pricing Pilot Program (“VPPP”) to implement their congestion pricing

   scheme. ECF 7-1 at 0-1. In order to approve the scheme under the VPPP, FHWA had to perform

   a NEPA review. 9 23 C.F.R. § 771.109; ECF 7-1 at 0-1.

           B.      The Origins of NEPA and FHWA-Approved Projects Requiring an EIS

           In the decades preceding NEPA’s enactment, the federal government pursued extensive

   development projects at the expense of local communities. Rapid highway construction, in

   particular, brought about devastating impacts on the environment, historic sites, and the health and

   well-being of vulnerable populations. Indeed, in the late 1940s and early 1950s, New Yorkers

   watched in horror as the Cross Bronx Expressway bulldozed through the Bronx neighborhood of

   East Tremont, displacing local communities, and instigating large-scale environmental impacts

   that continue to affect local residents. 10 As the federal government accelerated its efforts, a

   national anti-freeway movement emerged. By the 1960s, the so-called “freeway revolts” gained

   widespread attention from the public and government alike. 11

           In 1970, Congress passed NEPA in response to “[t]he public’s growing concern” about the

   environmental impact of “federally sponsored or aided construction activities such as highways.”

   S. Rep. No. 91-296, at 8 (1969). By its plain terms, NEPA was enacted “to promote efforts which

   will prevent or eliminate damage to the environment” and to “stimulate the health and welfare of

   man.” 42 U.S.C. § 4321. In recognition of the “profound influences of population growth, high-

   density urbanization,” and other activity affecting the “environmental quality” of human health

   and welfare, NEPA requires the federal government to “use all practicable means . . . to improve



   9  To date, FHWA has not approved the congestion pricing scheme pursuant to the VPPP.
   10 See Grace Brennan, Park on the Highway: Building a Cap Park as a Solution to Decades of Devastation
      Caused by the Construction of the Cross Bronx Expressway, 49 Fordham Urb. L.J. 825, 832–37 (2022).
   11 See Deborah N. Archer, White Men’s Roads Through Black Men’s Homes: Advancing Racial Equity Through
      Highway Reconstruction, 73 Vand. L. Rev. 1259, 1310–11 (2020).


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   and coordinate Federal plans, functions, programs, and resources” to “assure for all Americans

   safe, healthful, productive, and esthetically and culturally pleasing surroundings.” 42 U.S.C. §

   4331.

           To that end, NEPA is “intended to ensure Federal agencies consider the environmental

   impacts of their actions in the decision-making process.” 40 C.F.R. § 1500.1(a). NEPA does so

   by: (1) requiring agencies to take a hard look at the environmental impacts of an action before

   making decisions; and (2) providing the public with a “role in both the decisionmaking process

   and the implementation of that decision.” Robertson v. Methow Valley Citizens Council, 490 U.S.

   332, 349–50 (1989).

           Under NEPA, the agency funding, authorizing, or implementing a proposed action must

   conduct and prepare an EA analyzing the proposed action’s direct, indirect, and cumulative

   impacts to determine whether or not the action would “significantly affect[] the quality of the

   human environment.” 42 U.S.C. § 4332(2)(C). There are two potential outcomes of an EA. First,

   if the lead agency finds that the action will significantly affect the quality of the human

   environment, it must prepare an EIS. 40 C.F.R. § 1501.5(c)(1); 23 C.F.R. § 771.119(i). An EIS

   requires a detailed and rigorous assessment of the proposed action and imposes more stringent

   requirements on the public consultation process. Pursuant to FHWA regulations, an EIS must (1)

   provide a full and fair discussion of significant environmental impacts, (2) inform decisionmakers

   and the public of reasonable alternatives that would avoid or minimize adverse impacts or enhance

   the quality of the human environment, (3) assess all reasonable alternatives that are consistent with

   the identified purpose and need, and (4) evaluate a no-action alternative and all reasonably

   available measures to mitigate adverse environmental impacts. 40 C.F.R. §§ 1502.1, 1502.13,

   1502.14(a), 1502.14(c). Second, if the lead agency finds, in the alternative, that the proposed




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   action will have no significant impact on the environment, it may issue a Finding of No Significant

   Impact, or a “FONSI.” Id. § 1501.6.

            Since January 1, 2020, at least 20 FHWA-approved projects have required an

   EIS. 12 Preparing an EIS takes time; on average, it takes FHWA almost four years. 13 Nevertheless,

   FHWA routinely prepares EISs—including, for example, four related to tolling in the last three

   years—and nine in 2022 alone. 14 To name a few tolling projects where EISs were required: the

   Chesapeake Bay Crossing Study 15 sought to decrease congestion at the Bay Bridge in Maryland;

   the Hood River-White Salmon Interstate Bridge Replacement Project 16 in Oregon involved

   changing tolling facilities to all-electronic tolling; the Lafayette Regional Xpressway 17 project in

   Louisiana proposed the building of a new connector and tolling alternatives were considered in the

   EIS; and the I-495 and I-270 Managed Lanes Study 18 in Maryland proposed replacing an existing

   bridge and implementing two high-occupancy toll lanes in an effort to decrease congestion.

   Notably, in each of these cases, FHWA determined that merely changing the tolling procedure—

   not instituting a whole new tolling scheme—warranted an EIS.


   12   EPA, NEPA: Environmental Impact Statement (EIS) Database, https://cdxapps.epa.gov/cdx-enepa-
        II/public/action.eis/search (last visited Nov. 10, 2023). Data were filtered by Agency (“FHWA”) and Federal
        Registration Publication Date (Jan. 1, 2020, to July 12, 2023). Repeating EISs and supplements were not
        included in the count, as well as any projects that consulted FHWA but did not list FHWA as the lead agency.
   13   Fed. Highway Admin., Environmental Review Toolkit,
        https://www.environment.fhwa.dot.gov/nepa/timeliness_of_nepa.aspx (last visited Nov. 10, 2023).
   14   EPA, NEPA: Environmental Impact Statement (EIS) Database, supra note 12. Data was filtered by Agency
        (“FHWA”), Federal Registration Publication Date (Jan. 1, 2021 to July 12, 2023). Repeating EISs and
        supplements were not included in the count, as well as any projects that consulted FHWA but did not list
        FHWA as the lead agency.
   15   Fed. Highway Admin., Final EIS, Chesapeake Bay Crossing Study: Tier 1 NEPA (Mar. 2022), available at
        https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=323312 (last visited Nov. 10, 2023).
   16   Fed. Highway Admin., Suppl. Draft EIS, Hood River – White Salmon Interstate Bridge Replacement Project
        (Nov. 2020), available at https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=314171 (last
        visited Nov. 10, 2023).
   17   Fed. Highway Admin., Final EIS, Lafayette Regional Xpressway: Combined Tier 1 FEIS/ROD (Dec. 2022),
        available at https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=397583 (last visited Nov. 10,
        2023).
   18   Fed. Highway Admin., Final EIS, I-495 & I-270 Managed Lanes Study (June 2022) at ES-7 to ES-8, available
        at https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=368681 (last visited Nov. 10, 2023).


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            FHWA has also determined a full EIS was required for at least eight projects in New York

   over the past ten years. 19 For example, in 2014, FHWA required an EIS to assess a project that

   would modify the I-87 Exit 4 area in the Town of Colonie by constructing new exit ramps, an

   intersection, and widening pavement. 20 It also required EISs for a proposal to re-route I-81 to

   connect with I-481 and for a proposal to construct two new ramps and replace a bridge near

   Buffalo. 21 In 2019, FHWA required an EIS for a far less significant proposal than the one at issue

   here—the addition of a 4.3-mile vehicular travel lane near JFK Airport. 22

            C.       MTA’s Federal Funding and FHWA’s Agreement to “Fast Track” its
                     Approval of Congestion Pricing

            As the COVID-19 pandemic hit New York in early 2020, ridership on the New York City

   subway and buses plummeted and the MTA lost billions of dollars in revenue. The federal

   government stepped in with a lifeline: in May 2020, the MTA received $500 million in transit

   funding under the Coronavirus Aid, Relief, and Economic Security Act. 23 Then, between May

   2020 and March 2022, the MTA received over $15 billion in pandemic relief funding. 24 Despite



   19   EPA, NEPA: Environmental Impact Statement (EIS) Database, supra note 12. Data were filtered by Agency
        (“FHWA”), Federal Registration Publication Date (Jan. 1, 2013 to July 12, 2023), and State or Territory (“New
        York”). Repeating EISs and supplements were not included in the count, as well as any projects that consulted
        FHWA but did not list FHWA as the lead agency.
   20   Fed. Highway Admin., Final EIS, Interstate 87 (I-87) Exit 4 Access Improvements (Aug. 2014), available at
        https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=88433 (last visited Nov. 10, 2023).
   21   Fed. Highway Admin., Final EIS, Interstate 81 Viaduct Project (Apr. 2022), available at
        https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=362431 (last visited Nov. 10, 2023); Fed.
        Highway Admin., Final EIS, NYS Route 198 (Scajaquada Expressway) Corridor Project (Nov. 2017), available
        at https://cdxapps.epa.gov/cdx-enepa-II/public/action/eis/details?eisId=241793 (last visited Nov. 10, 2023).
   22   Fed. Highway Admin., Final Environmental Impact Statement, Van Wyck Expressway Capacity and Access
        Improvements to JFK Airport Project (Aug. 2019), available at https://cdxapps.epa.gov/cdx-enepa-
        II/public/action/eis/details?eisId=279281 (last visited Nov. 10, 2023).
   23   Stephanie Pagones, MTA to Get $3.9B in Coronavirus Aid, Cuomo Says Trump ‘cut red tape’ to Send NY
        Expedited Funding, Fox Business (May 14, 2020, 2:58 PM EDT),
        https://www.foxbusiness.com/lifestyle/trump-cuomo-new-york-city-subway-funding.
   24   N.Y. State, Statement from Governor Kathy Hochul on the MTA Receiving 769 Million in Additional COVID
        Relief Funding from the Federal Transit Administration (Mar. 7, 2022),
        https://www.governor.ny.gov/news/statement-governor-kathy-hochul-mta-receiving-769-million-additional-
        covid-relief-funding.


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   these influxes of federal funds, the MTA required more money. This time, the MTA determined

   it could receive another $15 billion from the congestion pricing scheme. However, that money

   was delayed when FHWA failed to act on its VPPP application for two years.

             Finally, in February 2021, then-chief development officer (now Chair and CEO), Janno

   Lieber, stated, “[i]n recent weeks,” the MTA “heard from [FHWA] that they are going to fast-track

   our environmental process.” 25 The next month, Lieber confirmed that “good news,” “which will

   certainly get the MTA moving forward towards being able to realize this source of funds and

   instituting [congestion pricing].” 26 A few days later, FHWA authorized the Project Sponsors to

   proceed with a NEPA Class III EA action under 23 C.F.R. § 771. ECF 7-1 at 0-1. In its letter,

   FHWA emphasized that it would “expedite its efforts wherever possible.” ECF 1-5 at 2 (emphasis

   added).

             D.     The Project Sponsors Completed the Draft EA but Did Not Address
                    Environmental Impacts on New Jersey and Proposed No Mitigation

             Once FHWA authorized the Project Sponsors to proceed, they began drafting the EA.

   During this process, FHWA and the Project Sponsors never invited New Jersey’s environmental

   and health agencies to participate, and New Jersey’s transportation agencies were only invited to

   three virtual briefings before the Draft EA’s publication. See infra IV.D. And although the Project

   Sponsors convened an Environmental Justice Technical Advisory Group, only one organization

   (out of 16) represented the interests of any New Jersey communities with environmental justice

   concerns. ECF 7-6 at 17-84. There was no meaningful engagement with localized groups in



   25 Eric Bascome, NYC Congestion Pricing May Be Pushed Forward Under Biden, silive.com (Feb. 26, 2021, 1:09
      PM EST), https://www.silive.com/news/2021/02/nyc-congestion-pricing-may-be-pushed-forward-under-
      biden.html.; Alissa Walker, Secretary Pete Is Already Coming Through for New York City on Congestion
      Pricing, Curbed (Feb. 23, 2021), https://www.curbed.com/2021/02/congestion-pricing-nyc-approval-pete-
      buttigieg.html.
   26 MTA Board Meeting on March 17, 2021 Minutes, in MTA Board Action Items, at 15 (Mar. 17, 2021),
      https://new.mta.info/document/33901.


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   Orange, East Orange, Newark, Fort Lee and/or Bergen and Essex Counties—all of which contain

   minority and low-income communities and are burdened by pre-existent pollutants and chronic

   diseases. To no one’s surprise, then, the Draft EA did not adequately account for New Jerseyans.

            On August 10, 2022, the Project Sponsors published the completed Draft EA. The Draft

   EA made clear that the Project Sponsors’ primary goal was to generate $15 billion for the MTA.

   As set forth in the Draft EA, the MTA’s congestion pricing scheme was intended to: (1) reduce

   daily vehicle miles traveled (“VMT”) in the CBD; (2) reduce the number of vehicles entering the

   CBD; (3) create a funding source capable of raising $15 billion for the MTA Capital Project; and

   (4) establish a tolling program consistent with the TMA. ECF 7-1 at 1-18; ECF 1-6 at ES-6. 27

            The Draft EA reflected FHWA’s determination that an EIS was not required for the

   congestion pricing scheme—in other words, that if there were any significant environmental

   impacts caused by congestion pricing, they could be effectively mitigated. The publication of the

   Draft EA initiated a 30-day formal comment period, which was subsequently extended by only 14

   days despite requests for substantially longer extensions. During those 44 days, FHWA and the

   Project Sponsors received more than 14,000 individual submissions and 55,000 form letters. ECF

   7-1 at 0-2. In total, over 22,000 individual comments were submitted. Id.

            New Jersey Governor Murphy and several New Jersey agencies were among those who

   submitted comments and outlined the Draft EA’s failure to adequately identify, address, and

   mitigate the scheme’s impacts on New Jersey and its residents. ECF 1-7. On September 23, 2022,

   Governor Murphy sent a letter to FHWA, urging the agency to complete an EIS under NEPA. The

   letter incorporated comments from the New Jersey Department of Transportation (“NJDOT”),

   New Jersey Transit Corporation (“NJTRANSIT”), and New Jersey Turnpike Authority (“NJTA”).


   27   Although the Draft EA and Final EA reflect four project objectives, only the first three were used to assess and
        eliminate potential alternatives. See infra IV.E.


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   Governor Murphy made clear that New Jersey opposed the proposed congestion pricing scheme

   because “the Program [] has revenue production as a primary goal” and therefore left open “a high

   degree of uncertainty and potential for significant impact associated with the [congestion pricing

   scheme] as outlined.” Id. at 1.

          As Governor Murphy explained, the Draft EA shortchanged New Jersey. First, FHWA

   provided inadequate time for public review and comment. Id. Second, FHWA did not provide

   public hearings during the Draft EA’s development, instead holding them after, in direct

   contradiction of NEPA’s purpose. Id. Third, and as a direct result of FHWA’s skirting of NEPA’s

   requirements, few New Jersey residents had the opportunity to comment on the Draft EA, despite

   congestion pricing’s direct impacts on them. Id. Fourth, New Jersey had no representation on the

   entities that did play a leading role in the process. Id. Overall, Governor Murphy explained that

   the scheme will impact New Jersey highways, expose vulnerable communities to more congestion

   and air quality issues, pass costs onto New Jersey commuters and, may actually disincentivize

   transit use and increase vehicles in New Jersey. Id. at 2–7. In other words, the putative benefits

   are reserved for New Yorkers, while the very real disadvantages are borne by New Jerseyans.

          E.      FHWA Issued the Final EA and FONSI Without Requiring the Project
                  Sponsors to Prepare an EIS

          In early May 2023, FHWA published its Final EA. Despite New Jersey’s concerns, the

   Final EA remained largely unchanged from the Draft EA. Adding insult to injury, although it

   added several mitigation measures for New York, it committed to no mitigation for New Jersey.

   See infra IV.A.2. In conjunction with the Final EA, FHWA published a Draft FONSI which stated

   that it had “independently evaluated [the Final EA] and determined [it] to adequately and

   accurately discuss the purpose and need, environmental issues, and impact of the Proposed Action




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   and appropriate mitigation measures.” ECF 1-8. FHWA concluded that the Final EA “provide[d]

   sufficient evidence and analysis” to determine that an EIS was “not required.” Id.

          The Draft FONSI summarized the potential effects of congestion pricing and mitigation to

   prevent any significant impacts. Id. at 3–15. However, it wholly failed to commit mitigation

   measures to ameliorate identified New Jersey impacts. Notably, even though FHWA recognized

   that congestion pricing could increase traffic diversions, and thus emissions, in Bergen County

   under all seven tolling scenarios, it determined there was “no mitigation needed” and “no adverse

   effects.” Id. at 10. Although FHWA recommended that the Project Sponsors work with the NYC

   Department of Health and Mental Hygiene and the NY State Department of Environmental

   Conservation (“NYSDEC”) to determine whether changes in air pollution would result from traffic

   pattern changes in New York, it failed to propose any corresponding monitoring for New Jersey.

   Id.

          Similarly, while the Draft FONSI recognized that “certain environmental justice

   communities [] already over-burdened by pre-existing air pollution and chronic disease could see

   an adverse effect as a result of increased traffic,” and listed Orange, East Orange, Newark, and

   Fort Lee as potentially impacted communities, FHWA’s mitigation measures omitted any

   reference to New Jersey or cooperation with its agencies. Id. at 14. Instead, the Project Sponsors—

   all New York entities—would install or upgrade air filtration units in New York schools and work

   with New York agencies. Id.

          The Draft FONSI was made available for public review for 30 days. New Jersey’s

   transportation agencies were invited to just one meeting after the publication of the Final EA and

   Draft FONSI—a virtual briefing with no opportunity for meaningful engagement. See infra IV.D.




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   Neither the New Jersey Department of Environmental Protection (“NJDEP”) nor the New Jersey

   Department of Health (“NJDOH”) was contacted.

          On June 12, 2023, Governor Murphy, NJDOT, NJDEP, NJDOH, NJTRANSIT and NJTA,

   sent a letter to FHWA opposing the adoption of the Final EA and the Draft FONSI. New Jersey

   wrote: (i) the Final EA was the result of a failed process without adequate outreach to New Jersey

   agencies; (ii) the purpose and needs were too narrowly defined as a result of inadequate public

   outreach; and (iii) FHWA failed to consider alternative tolling schemes. ECF 1-4 at 2–15. As a

   result, the Final EA failed to account for: (i) potential revenue impacts to New Jersey’s transit

   authority; (ii) potential fare impacts on New Jersey’s economically distressed communities; (iii)

   shifts in traffic patterns; (iv) effects on New Jersey’s communities with environmental justice

   concerns; (v) disparate environmental and public health impacts; and (vii) air quality impacts. Id.

   New Jersey requested that FHWA rescind the Draft FONSI, require an EIS based on the MTA’s

   preferred tolling scenario—instead of approving seven or more proposed schemes—and ensure

   that any EIS considers the harms to New Jersey.

          However, just a few weeks later, without directly responding to New Jersey’s letter, FHWA

   published its Final FONSI without notable changes. The Final EA and FONSI reflected a fatally

   flawed assessment of the seven or more potential tolling scenarios and their possible effects on

   New Jersey, failed to require necessary mitigation measures, and failed to consider alternatives—

   all culminating in an unjustified finding of no significant impact.

                                     III.    LEGAL STANDARD

          Courts must grant summary judgment “if the movant shows that there is no genuine dispute

   as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

   56(a). Here, Plaintiff’s claims are governed by the Administrative Procedure Act, 5 U.S.C. §§

   701–706 (“APA”), which allows courts to “hold unlawful and set aside” an agency decision if it


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   is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” or

   undertaken “without observance of procedure required by law.” Id. at § 706(2)(A) & (D).

             “An agency’s decision not to prepare an EIS must be set aside” if it falls into either of these

   two categories. N.Y. v. Nuclear Regul. Comm’n, 681 F.3d 471, 477 (D.C. Cir. 2012); see also

   Blanton v. Off. of the Comptroller of the Currency, 909 F.3d 1162, 1170 (D.C. Cir. 2018).

   “Normally, an agency [decision] would be arbitrary and capricious if the agency failed to consider

   an important aspect of the problem, offered an explanation for its decision that runs counter to the

   evidence before the agency, or is so implausible that it could not be ascribed to a difference in

   view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

   Co., 463 U.S. 29, 43 (1983). To make this finding, courts must review the administrative record

   and decide whether the agency, “examin[ed] the relevant data and articulate[d] a satisfactory

   explanation for its action including a rational connection between the facts found and the choice

   made.” Guindon v. Pritzker, 31 F. Supp. 3d 169, 185 (D.D.C. 2014) (citing State Farm, 463 U.S.

   at 43).

             In particular, a FONSI may be issued only when an action would “not have significant

   effects” on the human environment. 40 C.F.R. § 1501.6(a) (2022). In determining “significance,”

   an agency must consider the severity of a proposed action’s impacts on the affected locale, region,

   and societal interests. Nat’l Parks & Conservation Ass’n v. Babbitt, 241 F.3d 722, 731 (9th Cir.

   2001), abrogated on other grounds by Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 157

   (2010); see also 40 C.F.R. § 1501.3(b)(2) (2022). Among many factors, an agency evaluates: (i)

   to what extent the proposed action affects public health; (ii) what the short-term and long-term

   effect may be; and (iii) whether the proposed action would violate any laws protecting the

   environment. 40 C.F.R. § 1501.3(b)(2) (2022). Courts are “require[d]” to “determine whether




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   the agency . . . provided a convincing statement of reasons to explain why a project’s impacts are

   insignificant” and review “the agency’s determination in light of the degree of uncertainty

   manifested, and the degree of controversy generated” regarding the “effects on the quality of the

   environment.” Babbit, 241 F.3d at 731. As such, depending on context, any potential impact,

   large or small, may be significant within NEPA’s meaning. Bark v. U.S. Forest Serv., 958 F.3d

   865, 870 (9th Cir. 2020) (EIS required when substantial questions are raised as to whether a

   proposed project “may cause” an adverse environmental impact); Ctr. for Bio. Diversity, 538 F.3d

   at 1219 (same).

          Although courts are deferential to an agency’s decision whether to prepare an EIS or issue

   a FONSI, courts “routinely vacate agency action taken in violation of NEPA.” Standing Rock Sioux

   Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1050 (D.C. Cir. 2021) (citing cases). The

   reviewing court’s “task” “is to ensure that the [agency], in finding no significant impact, (1)

   accurately identified the relevant environmental concern; (2) took a hard look at the problem in

   making its decision; (3) has made a convincing case for its finding of no significant impact; and

   (4) has shown that even if there is an impact of true significance, an [EIS] is unnecessary because

   changes and safeguards in the project sufficiently reduce the impact to a minimum.” Am. Wild

   Horse Pres. Campaign v. Perdue, 873 F.3d 914, 930 (D.C. Cir. 2017) (cleaned up). If the agency

   does “not examine the environmental effects” of the proposed action or its FONSI is “not

   supported by substantial evidence on the record,” the FONSI must be vacated and an EIS required.

   N.Y., 681 F.3d at 478–79.

          NEPA requires agencies to take a “‘hard look’ at the environmental consequences that may

   flow from a particular action.” Colo. Env’t Coal. v. Salazar, 875 F. Supp. 2d 1233, 1250 (D. Colo.

   2012). “The purpose of the ‘hard look’ requirement is to ensure that the ‘agency has adequately




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   considered and disclosed the environmental impacts of its actions and that its decision is not

   arbitrary or capricious.’” Id. at 1250 (quoting Baltimore Gas, 462 U.S. at 97). Indeed, “[p]art of

   the harm NEPA attempts to prevent in requiring an EIS is that, without one, there may be little if

   any information about prospective environmental harms and potential mitigating measures.”

   Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 23 (2008).

                                         IV.    ARGUMENT

          A.      FHWA’s Issuance of a FONSI Was Unlawful Because It Failed to Take a
                  Hard Look at the Environmental Impacts on New Jersey

          The Final EA repeatedly acknowledges that congestion pricing will cause increased air

   pollution in New Jersey. This public health finding—especially within the context of New Jersey’s

   communities already overburdened by air pollution—is proof positive that the impacts are

   significant. Babbitt, 241 F.3d at 731. Yet rather than call these impacts what they are—

   significant—FHWA “shunted aside” “significant questions” about those impacts “with mere

   conclusory statements,” erroneously determined that all adverse impacts to New Jersey will be

   insignificant, and, having defined them out of the statutory calculus, proposed no mitigation

   measures to offset them even though its own findings support the significance of these impacts.

   Found. for N. Am. Wild Sheep v. U.S. Dep’t of Agric., 681 F.2d 1172, 1179 (9th Cir. 1982).

   Because FHWA’s FONSI is “based primarily on its conclusory assertion—contradicted by

   evidence in the record—that [congestion pricing] will have no significant environmental impact,”

   the Court must grant summary judgment to the State and vacate the Final EA and FONSI. Ctr. for

   Bio. Diversity, 538 F.3d at 1220.




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                    1.       The Final EA Acknowledged that Congestion Pricing Will Cause
                             Significant Increased Air Pollution in New Jersey, and Did Not
                             Explain Why Those Impacts Should Be Deemed Insignificant

           Although the Final EA identifies several significant adverse impacts on air quality in New

   Jersey, it summarily labeled these impacts “insignificant.” But FHWA had no basis for that “bare

   conclusion.” Sierra Club v. Mainella, 459 F. Supp. 2d 76, 108 (D.D.C. 2006). As an initial matter,

   FHWA’s finding cannot stand because it did not provide a “convincing statement of reasons to

   explain why [these] impacts are insignificant,” which is “crucial to determining whether the

   [FHWA] took a ‘hard look’ at the potential environmental impact of a project.” Ctr. for Bio.

   Diversity, 538 F.3d at 1220 (cleaned up); see also Lower Alloways Creek Twp. v. Pub. Serv. Elec.

   & Gas Co., 687 F.2d 732, 741–42 (3d Cir. 1982) (agency must “‘suppl[y] convincing reasons why

   potential impacts are truly insignificant,’ if such is the agency’s recommendation.” (citation

   omitted)).

           The Final EA explicitly states that “increases in all pollutants” will occur in Bergen County

   in 2023 and 2045 due to shifts in truck traffic. ECF 7-5 at 10-21 (emphasis added). 28 Specifically,

   National Ambient Air Quality Standards (“NAAQS”) criteria pollutants—such as carbon

   monoxide; nitrogen oxides; ozone; particulate matter (“PM”); sulfur dioxide; and lead and mobile

   source air toxins, as well as carcinogens like formaldehyde—will rise in Bergen County. Id. at

   10-21, 10-23, 10-24, 10-37, 10-38; see Exs. 1–2. While Bergen County serves as a useful

   illustration of the congestion pricing scheme’s impacts on air quality, it is by no means the only

   area in New Jersey that will necessarily experience impacts. Rather, because FHWA’s air quality

   analysis evaluated only two New Jersey counties (Bergen and Hudson), it is simply impossible to



   28 The Final EA included a regional air quality assessment only under Tolling Scenario A because that scenario
      was “predicted” to result in the “smallest change in VMT.” ECF 7-5 at 10-21. However, virtually every other
      tolling scenario will cause greater changes in VMT across New Jersey in the short- and long-term. See Ex. 2.


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   rule out whether other New Jersey counties will experience similar or worse adverse impacts than

   Bergen County. See infra IV.B.

            These identified significant harms to Bergen County’s air quality will seriously impact

   human health by increasing the likelihood of premature mortality, increased hospital admissions

   for heart or lung causes, acute and chronic bronchitis, asthma attacks, emergency room visits,

   respiratory problems. ECF 1-4 at 13 n.46. That is all the more likely because Bergen County

   already experiences poor air quality and resulting health impacts. Indeed, as FHWA itself

   acknowledged, individuals in southeast Bergen are already exposed to “air toxics cancer risk worse

   than 94 percent of the nation.” ECF 7-7 at 17D-18; see also id. at 17D-19. And diesel particulate

   matter levels in “large portions” of Bergen County are “at or above the 95th percentile” of all U.S.

   communities. Id.

            Despite this, the Final FONSI never explains why air quality impacts in Bergen County

   will be insignificant. The only statement about these impacts’ significance in the Final FONSI is

   one-word: “No.” 29




            The Final EA fares no better.           Nowhere does it provide any reasons—let alone a

   “convincing statement”—for FHWA’s determination that air quality impacts in Bergen County

   will be insignificant. 350 Montana v. Haaland, 50 F.4th 1254, 1269 (9th Cir. 2022); see also Ctr.




   29   “AADT” stands for “Annual Average Daily Traffic,” which is a measurement for vehicle traffic. See Ex. A
        (Glossary of Terms).


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   for Bio. Diversity, 538 F.3d at 1224 (EA inadequate where “NHTSA has not explained why its rule

   will not have a significant effect”). An agency cannot “avoid its statutory responsibilities under

   NEPA merely by asserting that an activity it wishes to pursue will have an insignificant effect upon

   the environment.” Lower Alloways, 687 F.2d at 741. Yet that is precisely what FHWA did here:

   it identified severe air quality impacts in Bergen County, but labeled them insignificant, without

   explaining how it reached that conclusion. That does not satisfy FHWA’s statutorily mandated

   obligation to take a “hard look” at the environmental impacts in New Jersey.

                  2.        The Final EA Proposed No Mitigation of Unavoidable and Adverse
                            Impacts of Air Pollution in New Jersey

          As explained above, while the Final EA acknowledges that the scheme will cause increased

   air pollution in New Jersey, FHWA refused to provide for and commit to any mitigation of those

   impacts despite the well-established rule that where a project will result in “impact[s] of true

   significance, preparation of an EIS can be avoided only if the agency finds that the changes or

   safeguards in the project sufficiently reduce the impact to a minimum.” Town of Cave Creek v.

   FAA, 325 F.3d 320, 327 (D.C. Cir. 2003). FHWA cannot deny the significance of the impacts in

   New Jersey or the fact that they merit mitigation because it did commit to mitigation of similar

   impacts in New York.

          Under every tolling scenario, Bergen County will experience an increase in Annual

   Average Daily Traffic (“AADT”) roughly two to four times greater than the corresponding

   increase in the Bronx:




                                                   24
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   ECF 1-3 at 10 (alterations added); Ex. 1. As set forth in the above chart, while the increase in

   AADT ranges from 1,766 to 3,996 vehicles per day in the Bronx under every tolling scenario, it

   ranges from 5,003 to 12,506 vehicles per day in Bergen County. Id. The numbers speak for

   themselves—AADT in Bergen County may be as much as four times greater than the Bronx but

   no mitigation was committed to Bergen County. Instead, FHWA identifies and commits to 10

   mitigation measures expressly limited to New York. They include: (1) expanding the NYC Clean

   Trucks Program; (2) expanding the NYCDOT off-hours delivery program; (3) tolling certain

   vehicles on the FDR Drive; (4) replacing transport refrigeration units in the Bronx; and (5)

   establishing an asthma center in the Bronx. ECF 7-6 at 17-65, ECF 1-3 at 14. 30 None applies to

   New Jersey. FHWA’s decision to mitigate air quality impacts in New York but not Bergen County

   and the FONSI’s failure to provide any explanation for why communities in the Bronx deserve




   30   The remaining five mitigation measures are functionally limited to New York because they are funded by New
        York entities and/or will be implemented only by New York agencies and entities. ECF 7-6 at 17-65–17-67.
        For instance, the implementation of electric truck charging infrastructure “will be implemented . . . using funds
        received by NYSDOT and will therefore be limited to locations in New York.” Id. at 17-66. Similarly, the
        TBTA—a purely New York entity—is charged with leading the installation of air filtration units in schools near
        highways. Id. at 17-65.


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   mitigation, but those in Bergen County do not demonstrate why the FONSI is arbitrary and

   capricious.

          While “proposed mitigation measures need not be laid out to the finest detail,” O’Reilly v.

   U.S. Army Corps of Eng’rs, 477 F.3d 225, 231 (5th Cir. 2007), an agency may only avoid an EIS

   if mitigation measures compensate for otherwise significant environmental impacts. Babbitt, 241

   F.3d at 733–35; Am. Canoe Ass’n v. White, 277 F. Supp. 2d 1244, 1262 (N.D. Ala. 2003). Here,

   they do not. Despite identifying significant impacts on air quality in New Jersey, FHWA did not

   propose or commit to a single mitigation measure in New Jersey. Contra 40 C.F.R. § 1501.6

   (requiring federal agency to conduct an EIS when significant impacts are identified but not

   mitigated). Because FHWA failed to fulfill this obligation under NEPA, the Court should vacate

   the Final EA and FONSI.

          B.      FHWA’s Final EA and FONSI Were Arbitrary and Capricious Because They
                  Selectively Relied on Inadequate Data and Analysis and Failed to Take a
                  Hard Look at the Impacts on New Jersey

          Agency actions are arbitrary and subject to reversal if, as here, they “failed to consider an

   important aspect of the problem.” State Farm, 463 U.S. at 43. In determining the geographic scope

   of its environmental impact analysis, an agency’s choice “must represent a reasoned decision and

   cannot be arbitrary.” Idaho Sporting Cong., Inc. v. Rittenhouse, 305 F.3d 957, 973 (9th Cir. 2002)

   (agency violated NEPA by arbitrarily limiting analysis to a small geographical range); see also

   Habitat Educ. Ctr., Inc. v. Bosworth, 381 F. Supp. 2d 842, 849 (E.D. Wis. 2005). An agency’s

   failure to analyze “the entire [] system” and whether a project will increase traffic “throughout the

   system to greater or lesser degrees” violates NEPA. N. Cascades Cons. Council v. U.S. Forest

   Serv., 98 F. Supp. 2d 1193, 1198 (W.D. Wash. 1999).

          That is what happened here. The geographic scope of the Final EA and FONSI was unduly

   narrow—after all, traffic and pollution do not stop at artificial geographic lines. As a result,


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   FHWA failed to consider the full range of environmental impacts on New Jersey by: (1) cherry-

   picking which tolling scenarios to analyze; (2) selectively relying on air quality results in only

   particular portions of the state; and (3) ignoring the EPA’s expertise in assessing the need for a

   more robust air quality analysis.

            First, because the Final EA only analyzed Tolling Scenario A when conducting a regional

   analysis of air quality changes, it ignored the adverse environmental effects on New Jersey.

   Unsurprisingly, the tolling scenarios vary greatly based on, for example, the amount, the times

   tolls would be imposed, exemptions, crossing credits, truck tolls, and discounts applied to different

   types of vehicles. ECF 7-1 at 2-30. Nevertheless, the Final EA only analyzed Tolling Scenario A

   for the mesoscale, Mobile Source Air Toxics (“MSAT”), and greenhouse gas (“GHG”) analyses

   because it purportedly “would result in the smallest reduction of VMT compared to the No Action

   Alternative” and thus “would have the lowest beneficial effect on regional air quality because

   changes in regional air quality emissions burden are directly related to changes in VMT.” ECF 7-

   5 at 10-11. However, the Final EA shows that Tolling Scenario A will not result in the smallest

   reduction of VMT (or, in some instances, any reduction in VMT) on a regional, State-wide, or

   local scale in New Jersey. ECF 7-2 at 4A-14, 4A-20. In fact, the other six tolling scenarios all

   show significantly greater increases in VMT throughout New Jersey. See Ex. 3. For example, by

   2023, Tolling Scenarios C through G would cause VMT to increase by 1012%, 920%, 517%,

   1130% and 381%, respectively, compared to Tolling Scenario A. Those effects will generally

   worsen over time. By 2045, Tolling Scenarios B through F would cause VMT to increase by

   600%, 1940%, 922%, 617%, and 1700%, respectively, compared to Tolling Scenario A: 31




   31   This chart collects data from Table 4A-6 and 4A-13 of the Final EA. The Final EA provides no data or
        explanation as to why Scenario G potentially has a beneficial impact on VMT in New Jersey counties.


                                                          27
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VMT - LOCATIONS,
                       NO            SCENARIO      SCENARIO       SCENARIO      SCENARIO      SCENARIO      SCENARIO      SCENARIO
YEARS AND
                       ACTION        A             B              C             D             E             F             G
DIFFERENCES
14 NEW JERSEY
                       97,578,100    97,594,939    97,590,826     97,748,567    97,733,034    97,665,181    97,768,338    97,642,310
COUNTIES (2023)
VMT INCREASES
FROM NO ACTION                       16,839        12,726         170,467       154,934       87,081        190,238       64,210
(2023)
PERCENT VMT
DIFFERENCES
                                     0%            76%            1012%         920%          517%          1130%         381%
RELATIVE TO
SCENARIO A

14 NEW JERSEY
                       107,907,842   107,914,688   107,948,940    108,040,676   107,970,946   107,950,075   108,024,196   107,882,082
COUNTIES (2045)
VMT INCREASES
FROM NO ACTION                       6,846         41,098         132,834       63,104        42,233        116,354       -25,760
(2045)
PERCENT VMT
DIFFERENCES
                                     0%            600%           1940%         922%          617%          1700%         -376%
RELATIVE TO
SCENARIO A


              Despite these staggering increases in VMT (and corresponding air emissions), the Final

     EA only looked at Tolling Scenario A in finding that the congestion pricing scheme would benefit

     regional air quality. Id. at 4A-24; ECF 7-5 at 10-21. Worse yet, although New Jersey’s VMT will

     increase under every tolling scenario by 2023, FHWA’s “Conclusion” on VMT does not even refer

     to New Jersey; instead, it focuses solely on the impacts in the CBD. ECF 7-2 at 4A-49 (presenting

     VMT study results and stating that “each tolling scenario would result in reductions in VMT in the

     Manhattan CBD, as well as across the region.”).

              As a result, the Final EA ignores the fact that New Jersey will experience traffic increases

     (and attendant negative air quality) up to twenty times worse if the MTA picks one of the other six

     scenarios, or an unknown eighth scenario not analyzed in the Final EA. 32 That is the exact opposite




     32   The Final EA even contemplated that TBTA could “adopt[] a toll schedule structure that has substantially
          different attributes from those examined in this EA” and, if that happens, “the Project Sponsors would review
          those changes with FHWA” to “identify a course of action to assess and document the changes in accordance
          with NEPA prior to implementation of the Project.” ECF 7-1 at 2-29 (emphasis added). That FHWA left open
          the possibility that there could be a congestion pricing scheme that is “substantially different” than the ones
          proposed in the Final EA underscores that it did not take a hard look at the environmental impacts of the
          proposed project. See, e.g., Protect Key West, Inc. v. Cheney, 795 F.Supp.1552, 1569-60 (S.D. Fla. 1992)
          (enjoining defendant from beginning construction of military housing at proposed site because the agency
          “barely took any look at the environmental consequences of the project in the EA”).


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   of a hard look and clearly arbitrary and capricious. N.Y., 681 F.3d at 481 (agency violates NEPA

   by “brush[ing] away” adverse environmental impacts identified by its own analysis); Nat’l

   Audubon Society v. Dep’t of Navy, 422 F.3d 174, 194 (4th Cir. 2005) (“An agency’s hard look

   should include neither researching in a cursory manner nor sweeping negative evidence under the

   rug.”); W. Watersheds Project v. Abbey, 719 F.3d 1035, 1051 (9th Cir. 2013) (ordering agency to

   revise EA where it failed to consider meaningfully different options for regulating livestock

   grazing near the project area).

            Second, the Final EA excluded 12 New Jersey counties from its regional air quality analysis

   for no good reason. The Project Sponsors established a 28-county “Regional Study Area.” ECF

   7-2 at 3-3. Of the 28 counties, 12 were in New York, 14 in New Jersey, and 2 in Connecticut. Id.

   However, in analyzing the congestion pricing scheme’s air quality impacts, the Final EA evaluated

   only 12 counties from those 28 counties in the Regional Study Area, and only two in New Jersey—

   despite the fact that New Jersey had represented half of the 28-county Regional Study Area. ECF

   7-5 at 10-10 to 10-11. 33 This allowed FHWA and the Project Sponsors to ignore the congestion

   pricing scheme’s effects in 12 New Jersey counties, in favor of New York. See e.g., Comm. to

   Stop Rte. 7 v. Volpe, 346 F. Supp. 731, 739–41 (D. Conn. 1972) (“Consideration of the

   environmental impact of [only] a small segment of a proposed route makes impossible adequate

   consideration”), order vacated on other grounds, 515 F. Supp. 151 (D. Conn. 1980). Since FHWA

   and the Project Sponsors only evaluated air quality impacts in Hudson and Bergen Counties, they

   did not assess impacts in other counties, like Union and Essex Counties, that contain numerous

   communities with environmental justice concerns and will experience increases in vehicular traffic

   due to the congestion pricing scheme. ECF 7-6 at 17-12, 17-33 to 17-35. This willfully limited



   33   The remaining 10 counties are in New York.


                                                     29
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   analysis—despite data showing adverse impacts on a greater geographic scale—is exactly what

   NEPA is meant to prevent. Idaho Sporting, 305 F.3d at 973 (finding “choice of analysis scale

   must represent a reasoned decision and cannot be arbitrary,” and holding the agency “ignored the

   detailed and well–supported conclusions of its own scientists”).

          The following map shows that if FHWA and the Project Sponsors had included those 12

   New Jersey counties, they would have had to grapple with the fact that the congestion pricing

   scheme is likely to cause an increase in VMT of 500 miles or greater in portions of at least 6

   additional New Jersey counties:




   See Ex. 5. Further, this map reveals that at least 74 New Jersey census tracts—spanning six

   counties excluded from the Final EA’s regional air quality analysis—will see an adverse impact

   in VMT (and attendant air pollution):




                                                  30
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                                                               Estimated Number of Census
                         New Jersey Counties Not
                                                               Tracts with a VMT Increase
                         Analyzed in the Final EA
                                                                        over 500
                                   Essex                                    19
                                 Middlesex                                  24
                                 Monmouth                                    1
                                  Morris                                    11
                                  Passaic                                   10
                                  Union                                      9

            Despite this, the Final EA focused its air quality analysis mostly—and its mitigation

   measures only—on New York.

            Likewise, in its microscale “hot spot” analysis of air quality, the Final EA arbitrarily

   analyzed only four intersections in New Jersey (out of 102) to evaluate potential carbon monoxide

   and particulate matter. ECF 7-5 at 10-11, 10-42; ECF 7-3 at 4B83 (Figure 4B-13). The Final EA

   chose the 102 intersections because “they are the locations expected to demonstrate the largest

   changes in traffic due to the Project.” ECF 7-5 at 10-42 to 10-43. But instead of picking locations

   with the “largest changes”—both increases and decreases—the Final EA only picked four

   intersections in New Jersey where traffic is expected to decrease and air quality to improve if the

   congestion pricing scheme is implemented. 34 ECF 7-5 at 10-44; Ex. 6. Notably, the Final EA did

   not analyze any intersections in Bergen County—the New Jersey county that will see the biggest

   increase in VMT as a result of the scheme—which would not have yielded a favorable outcome.

   ECF 7-5 at 10-11.         NEPA’s “hard look” requirement cannot be satisfied when an agency

   “attempt[ed] to curtail the potential environmental impacts” of a project by failing to consider

   relevant facts. Citizens for Clean Energy v. U.S. Dep’t of Interior, 621 F.Supp.3d 1165, 1173–74



   34   FHWA’s “hot-spot” analysis also appears to have violated New York law. DOT_0039947 (indicating that the
        EPA provided notice that the “hot spot” screening analysis did not comply with Codes, Rules and Regulations
        of the State of New York (N.Y. COMP. CODES R. & REGS. tit. 6 § 240-2.8(e)), which requires interagency
        consultation prior to the implementation of a hot-spot analysis).


                                                          31
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   (D. Mont. 2022); Volpe, 346 F. Supp. at 739–41 (“[c]onsideration of the environmental impact of

   a small segment of a proposed route” does not fulfill NEPA’s “hard look” requirement). There is

   no good reason (or really any reason at all) for excluding the portions of New Jersey most likely

   to be adversely impacted by the congestion pricing scheme. 35

            Third, FHWA ignored the EPA’s recommendation that a more robust air quality analysis

   be undertaken before issuing the Final EA and FONSI. Specifically, the EPA recommended that

   FHWA expand its microscale screening analysis to include intersections with an increase in traffic

   (not just a decrease) and to encompass intersections in Bergen County, where VMT is expected to

   do just that. ECF 1-1 at 2, 6. The EPA explicitly explained to FHWA that “benefits in some areas

   do not mean that disproportionate adverse impacts do not occur elsewhere. All potential adverse

   impacts should be identified, explained, and analyzed, irrespective of benefits to other areas.” Id.

   at 6 (emphasis added). 36 Yet FHWA ignored the EPA’s expert advice, turned a blind eye to

   increases in VMT and attendant air pollution in New Jersey, and issued its FONSI without

   addressing the EPA’s concerns. This renders FHWA’s air quality analysis and FONSI arbitrary

   and capricious and warrants vacatur. Cal. v. U.S. Dept of Transp., 260 F. Supp. 2d 969, 972–74

   (N.D. Cal. 2003) (EIS required where agency “ignored or did not adequately treat the[] concerns”

   of other agencies with expertise on the environmental impact of project); see also Food & Water

   Watch v. Fed. Energy Reg. Comm’n, 28 F.4th 277, 289 (D.C. Cir. 2022) (“[T]he mere possibility

   that a project’s overall emissions calculation will be favorable because of an ‘offset ... elsewhere’


   35 FHWA applied the same 102-intersection selection to evaluate noise pollution impacts—even though FHWA
      acknowledged that “potential increases in noise levels are partly tied to instances where there would be
      increases in vehicular traffic” and thus “the largest potential noise exposure across the tolling scenarios should
      be consistent with the highest incremental increase in traffic volumes.” ECF 7-5 at 12-3. For the same reasons
      the air quality conclusion based on the 102 “hot-spot” intersection analysis is inadequate to assess the impact of
      air pollution, the noise pollution analysis based on the same intersections is improper, arbitrary, and capricious.
   36 See also DOT_0041088 (July 12, 2022 EPA letter to FHWA and MTA explaining that “[b]enefits in the form of
      reductions in pollutants in one area do not negate the potential increases (in some cases of similar magnitude) in
      other regions,” including Bergen County).


                                                            32
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   does not ‘excuse’ the [agency] ‘from making emissions estimates’ in the first place.”); 74 C.F.R.

   § 650.4(k)(2)(i) (“A significant effect may exist even if the Federal agency believes that on balance

   the effect will be beneficial.”).

           C.      FHWA’s Final EA and FONSI Were Arbitrary and Capricious Because They
                   Failed to Fully Consider and Take a Hard Look at Adverse Impacts on New
                   Jersey’s Communities with Environmental Justice Concerns

           FHWA not only failed to take a hard look at significant impacts on New Jerseyans in

   general; it also gave short shrift to the impacts on some of New Jersey’s most vulnerable

   communities. Indeed, “recent studies have shown that environmental pollution . . . has a disparate

   impact on racial-ethnic minorities and low-income communities.” Baptiste v. Bethlehem Landfill

   Co., 965 F.3d 214, 226 (3d Cir. 2020). To address and mitigate such inequities, Executive Order

   14008 directs that “[a]gencies shall make achieving environmental justice part of their missions”

   and provides that it is the “policy of [this] Administration to secure environmental justice and spur

   economic opportunity for disadvantaged communities that have been historically marginalized and

   overburdened by pollution.” Exec. Order No. 14,008, 3 C.F.R. §477 (2022). That commitment

   to environmental justice builds on Executive Order 12898’s longstanding requirements, which

   provide: “[t]o the greatest extent practicable and permitted by law . . . each Federal agency shall

   make achieving environmental justice part of its mission by identifying and addressing, as

   appropriate, disproportionately high adverse human health or environmental effects of its

   programs, policies, and activities on minority populations and low-income populations[.]” Exec.

   Order No. 12,898, 3 C.F.R. § 859 (1995).

           FHWA itself has issued environmental justice guidance emphasizing the importance of

   complying with Executive Order 12898 and addressing environmental justice concerns in NEPA




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   review. 37 The guidance cautions that “[s]mall clusters or dispersed populations” of low-income

   or minority persons “should not be overlooked” and that “[u]nder NEPA, consideration must be

   given to mitigation . . . for all adverse effects regardless of the type of population affected.” Id.

   To ensure “that environmental justice concerns are effectively identified and addressed,” 38 the

   Council on Environmental Quality’s guidance provides that agencies “should seek input from

   [communities with environmental justice concerns] as early in the process as information becomes

   available,” and consider at least “the composition of the affected area [and] relevant public health

   data and industry data concerning the potential for multiple or cumulative exposure[.]” Id. at 9,

   11. It emphasizes that “[m]itigation measures . . . should, whenever feasible, address significant

   and adverse environmental effects of proposed federal actions on minority populations, low-

   income populations, and Indian tribes.” Id. at 4.

           Under NEPA, “[t]he purpose of an environmental justice analysis is to determine whether

   a project will have a disproportionately adverse effect on minority and low-income populations.”

   Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 255 F. Supp. 3d 101, 140 (D.D.C. 2017)

   (citing Mid States Coal. for Progress v. Surface Transp. Bd., 345 F.3d 520, 541 (8th Cir. 2003)).

   That analysis cannot be “cursory” or “bare-bones,” Standing Rock, 255 F. Supp. 3d at 139, the

   agency must establish “a rational connection between the facts found and the decision made,”

   Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321, 1330 (D.C. Cir. 2021)

   (quoting State Farm, 463 U.S. at 43), and it cannot “fail[ ] to consider an important aspect of the

   problem.” State Farm, 563 U.S. at 43.




   37 FHWA, Guidance on Environmental Justice and NEPA (2011)
      https://www.environment.fhwa.dot.gov/env_topics/ej/guidance_ejustice-nepa.aspx.
   38 Council on Env’t Quality, Environmental Justice: Guidance Under the National Environmental Policy Act 1
      (1997), https://www.epa.gov/sites/default/files/2015-02/documents/ej_guidance_nepa_ceq1297.pdf


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            FHWA failed to take the requisite “hard look” by failing to (1) adequately consult New

   Jersey’s data on communities with environmental justice concerns, (2) adequately consider and

   mitigate identified impacts on communities with environmental justice concerns in Bergen County,

   and (3) adequately assess impacts on other communities with environmental justice concerns

   across New Jersey.

                    1.       FHWA Did Not Adequately Collect Data on New Jersey’s
                             Communities with Environmental Justice Concerns

            Throughout the NEPA review process, FHWA did not seek adequate input from New Jersey

   and its local communities about potential environmental justice impacts. The Final EA did not

   take into account a mapping tool from NJDEP—the Environmental Justice Mapping, Assessment

   and Protection Tool—which would have more precisely reflected existing, localized

   environmental and public health stressors in New Jersey. Instead, the EA relied on less precise

   federal data and mapping tools, which analyzed environmental and public health stressors across

   overburdened census tracts, rather than census block groups. ECF 7-6 at 17-8. Census tracts,

   however, encompass much larger areas than census block groups, which permit a more refined

   analysis. 39 FHWA also did not explain why it declined to use New Jersey’s definition for

   communities with environmental justice concerns, which generally includes any census block

   group in which: (1) at least 35 percent of all households qualify as low-income households; (2) at

   least 40 percent of residents identify as a racial minority or as members of a State-recognized tribal

   community; or (3) at least 40 percent of households have limited English proficiency. N.J. Stat. §

   13:1D-158. Instead, FHWA improperly limited its assessment to census tracts in which: (1) at

   least 50 percent of the census tract’s population identifies as a racial minority, or the percentage of

   residents identifying as a racial minority exceeds the minority share in the county; and (2) the


   39   Glossary, U.S. Census Bureau, https://www.census.gov/programs-surveys/geography/about/glossary.html.


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   percentage of individuals with household incomes up to twice the Federal poverty threshold was

   higher than that for the 28-county region. ECF 7-6 at 17-8. That definition unjustifiably excluded

   numerous census block groups, for example, in Fort Lee—an area that will experience significant

   increases in traffic volumes. ECF 7-7 at 17D-78. Thus, the Final EA erroneously concluded that

   only one census tract in Fort Lee might merit place-based mitigation, and in the end, committed to

   no mitigation measures anywhere in New Jersey. ECF 7-7 at 17D-110; Ex. 7.

           That comes as no surprise given that New Jersey’s most vulnerable communities were also

   denied a meaningful opportunity to participate in the EA process. For instance, the Environmental

   Justice Technical Advisory Group included only one organization (out of 16) that represented the

   interests of any New Jersey communities with environmental justice concerns. See ECF 7-6 at

   17-84. There was no meaningful engagement with localized groups in Orange, East Orange,

   Newark, Fort Lee and/or Bergen and Essex County, which all have communities with

   environmental justice concerns and all of which will be adversely impacted by congestion pricing.

   See, e.g., id. at 17-81 to 17-88.

                   2.      FHWA Did Not Sufficiently Consider and Mitigate Adverse Impacts
                           on Communities with Environmental Justice Concerns in Bergen
                           County

           It also comes as no surprise that, given this lack of meaningful engagement, the Final EA

   failed to adequately consider impacts on New Jersey’s communities with environmental justice

   concerns. As part of a proper “hard look” review, an agency must “consider how the incremental

   effects of the project might compound [] preexisting environmental concerns.” O’Reilly v. All

   State Financial Co., 2023 WL 6635070, at *7 (5th Cir. Oct. 12, 2023). Here, the Final EA failed

   to account for how traffic diversions would exacerbate preexisting public health and environmental

   conditions in these communities. For example, FHWA (1) knew that several communities with

   environmental justice concerns in Bergen County already rank above the 95th percentile in air


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   toxics cancer risk, among other public health indicators, ECF 7-7 at 17D-17 to 17D-20; (2) found

   that Bergen County will experience increases in every category of pollutant, including volatile

   organic compounds, nitrogen oxides, carbon monoxide, and carbon dioxide equivalents, Exs. 1–

   2; but (3) failed to commit to any mitigation measures to address those impacts, ECF 7-6 at 17-65.

          Fort Lee illustrates the problem. Fort Lee has pre-existing pollution and chronic disease

   burdens at the 90th percentile, including some of the highest levels of PM2.5 in all of New Jersey.

   Id. at 18; ECF 1-4 at 12. Under the congestion pricing scheme, Fort Lee is one of the communities

   most likely to experience truck diversion. Indeed, FHWA acknowledged that “[t]he environmental

   justice communities experiencing the largest traffic volumes and truck increases from . . .

   diversions are along I-95 in northern New Jersey,” where Fort Lee and other communities with

   environmental justice concerns are located. ECF No. 7-5 at 10-42; see also DOT_0000405 at

   DOT_0001170 (I-95 west of the George Washington Bridge will experience “[h]ighest AADT in

   all scenarios”). Yet FHWA did not expand the hot-spot air pollution study area to include this

   area, ECF 7-5 at 10-42 to 10-44, despite the requirement that “[w]hen conducting an environmental

   justice analysis, an agency’s delineation of the area potentially affected by the project must be

   ‘reasonable and adequately explained.’” Vecinos, 6 F.4th at 1331 (citation omitted). Indeed, the

   only supplemental analysis conducted for Fort Lee confirmed that Fort Lee’s annual PM2.5 levels

   already exceed the EPA’s proposed air quality standards and will only increase once the congestion

   pricing scheme is implemented, but FHWA did not make any changes to the Final EA to mitigate

   these impacts. ECF 7-4 at 10-48 (PM2.5 levels in Fort Lee will exceed 11 µg/m3 under Tolling

   Scenario C); Reconsideration of the NAAQS for Particulate Matter, 88 Fed. Reg. 5560 (Jan. 27,

   2023) (proposing lowering the PM2.5 standard from 12.0 µg/m3 to 9.0–10.0 µg/m3).




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          The Final EA compounded these problems by neglecting to propose any place-based

   mitigation measures in affected New Jersey communities with environmental justice concerns—

   even though it did so for similarly situated communities in New York. See Ex. 7. As a result of

   FHWA’s flawed analysis, the EA listed only four New Jersey communities (Fort Lee, Orange,

   East Orange, and Newark) as having census tracts that would warrant place-based mitigation

   measures. The EA acknowledged that these areas have some of the highest existing pollution and

   chronic disease burdens. ECF 7-1 at ES-38. For example, nine communities in East Orange rank

   above the 90th percentile for at least three of five major chronic disease burdens, including asthma,

   cancer, diabetes, high blood pressure, and poor mental health. ECF 7-7 at 17D-23 to 17D-24.

   Notwithstanding those preexisting vulnerabilities, each of the place-based mitigation measures

   adopted in the EA will mitigate impacts only in New York, and there is no commitment to invest

   in similar mitigation measures across the region, including in New Jersey, despite similar (or

   worse) impacts. ECF 1-3 at 14; ECF 7-6 at 17-65 to 17-66.

                  3.      FHWA Did Not Adequately Assess Impacts on Other Communities
                          with Environmental Justice Concerns in the Regional Study Area

          The Final EA also inexplicably failed to address other communities in New Jersey with

   census tracts in the regional study area with preexisting pollution and chronic disease burdens.

   These communities include, but are not necessarily limited to, Union City, East Newark, Harrison,

   Bayonne, Elizabeth, and Perth Amboy. ECF 7-7 at 17D-29 to 17D-34. Take, for example, Union

   City, where every census tract ranks at or above the 90th percentile for at least three of four major

   pollutant burdens, including air toxics cancer risk, air toxics exposure, diesel particulate matter,

   and PM2.5. ECF 7-7 at 17D-31. As a major transit hub, Union City is likely to experience increased

   traffic as a result of the congestion pricing scheme, ECF 7-3 4C-13, 4C-23 to 4C-25, but FHWA

   failed to assess any potential impacts on Union City’s communities with environmental justice



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   concerns. Likewise, the EA did not consider impacts in Bayonne, Elizabeth, and Perth Amboy,

   all of which have bridges to Staten Island—another way to avoid the CBD—and all of which are

   communities with environmental justice concerns. See, e.g., ECF 7-7 at 34 (Bayonne is one of the

   two “most burdened municipalities” for “pollution-linked illness and disease”). Instead, the EA

   merely acknowledged that in places like Bayonne, there “would be a net increase in . . . traffic

   volumes” during “peak hours,” but provided no further analysis and did not propose any mitigation

   measures. ECF 7-2 at 4B-63.

          For all of these reasons, FHWA’s analysis of environmental impacts on New Jersey

   communities with environmental justice concerns was unacceptably “cursory.” Standing Rock,

   255 F. Supp. 3d at 139. Despite the high stakes, FHWA turned a blind eye to some of New Jersey’s

   most vulnerable neighborhoods. That failure to take a hard look at these impacts runs afoul of the

   federal environmental justice commitments and fails to comply with the requirements of NEPA.

          D.      FHWA’s Failure to Provide Adequate New Jersey Participation Renders the
                  Final EA and FONSI Arbitrary and Capricious

          FHWA’s failures to engage were not limited to communities with environmental justice

   concerns in New Jersey. It abrogated its responsibility under NEPA by failing to meaningfully

   engage New Jersey and its agencies more generally throughout the EA’s preparation. The

   consequences of this failure—which was both a function and a cause of FHWA’s ignorance of

   impacts on New Jersey—cannot be overstated. Had FHWA engaged New Jersey to the same

   extent it did New York, it might have properly considered the significant impacts of congestion

   pricing on New Jersey. But FHWA chose to remain blissfully uninformed.

          The CEQ regulations require federal agencies to “involve . . . State . . . and local

   governments” and “relevant agencies . . . to the extent practicable” while preparing an EA.

   40 C.F.R. § 1501.5(e); see also id. § 1506.6(a) (agency must “[m]ake diligent efforts to involve



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   the public in preparing and implementing their NEPA procedures.”).                     In addition, FHWA

   regulations provide that “[p]ublic involvement and a systematic interdisciplinary approach [are]

   essential parts of the development process for proposed actions.” 23 C.F.R. § 771.105(d). To that

   end, “States . . . that may be significantly affected by the action . . . must be notified early and their

   views solicited by the applicant in cooperation with the [FHWA].” Id. § 771.111(e). Likewise,

   when preparing an EA, the “applicant, in consultation with the [FHWA], must, at the earliest

   appropriate time, begin consultation with interested agencies . . . to advise them of the scope of

   the project [and] identify alternatives and measures that might mitigate adverse environmental

   impacts.” Id. § 771.119(b).

           It is undisputed that New Jersey’s transportation agencies (NJTRANSIT, NJTA, NJTPA,

   and NJDOT) have an interest in any congestion pricing scheme that will cause significant impacts

   on New Jersey’s regional transportation networks. Indeed, the Final EA specifically notes that

   “[i]n fall [sic] 2019, an average of 212,191 people entered and exited the [] CBD via NJ Transit

   commuter rail on average weekdays,” ECF 7-2 at 4-10, and public transit ridership is expected to

   increase in New Jersey as a result of the congestion pricing scheme. ECF 7-2 at 4C-23, 4C-25.

   Likewise, FHWA knew that NJDEP and NJDOH were interested agencies based on the scheme’s

   significant impacts on air quality and communities with environmental justice concerns. See supra

   IV.A–C. As a result, it was required to notify these entities early, solicit their views, and begin

   consultation. It did not.

           As discussed below, FHWA and the Project Sponsors invited New Jersey’s transportation

   agencies to attend just four virtual meetings during the year it took to draft the EA. Contrary to

   what the MTA now claims, 40 these meetings were essentially briefings, not opportunities for


   40 ECF 33-1 ¶ 30 (“FHWA and the Project Sponsors specifically invited [New Jersey transportation agencies] to
       engage in the process.”) (emphasis added).


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   “meaningful consultation.” Kootenai, 142 F. Supp. 2d at 1245 (NEPA violation where agency did

   not meaningfully engage with Tribe or communicate specific information regarding impacts of

   proposed project on tribal members despite holding meeting with tribal representatives).

           To be clear, FHWA and the Project Sponsors never contacted—let alone consulted—

   NJDEP and NJDOH. They did, however, routinely consult their New York counterparts. Ex. 8

   (noting consultation with the NYSDEC, NYCDEP, NYC Mayor’s Office of Environmental

   Coordination, and NYC Dep’t of Health and Mental Hygiene). The sheer number of New York

   versus New Jersey agencies consulted, and the number of meetings held with each, demonstrates

   the disparity in the consultation process:

                                                                           New York        New Jersey
    Number of agencies or government offices consulted                     17              4
    Number of environmental agencies or government offices                 3               None.
    consulted
    Number of meetings held with agencies or government offices            9               4 (3 before
                                                                                           Final EA was
                                                                                           issued)
    Number of meetings held with environmental agencies or local           5               None.
    environmental offices

   See Ex. 8. It is not just the disparity in quantity, but also in quality that is problematic. The details

   of each meeting demonstrate that they were superficial attempts to satisfy FHWA’s obligations

   rather than true opportunities for meaningful consultation.

           For example, on September 10, 2021—two years after the TMA was signed into law and

   the NEPA review started—NJDOT, NJTRANSIT, and NJTPA attended a virtual meeting where

   the Project Sponsors shared information about congestion pricing. DOT_0041617. The Project

   Sponsors did not invite New Jersey environmental agencies to participate, even though their New

   York counterparts—including the NYCDEP and NYC Mayor’s Office of Environmental

   Coordination—were consulted. Id.




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           On March 11, 2022, the MTA held a briefing with NJTRANSIT, but only to discuss the

   limited issue of potential increases in “pedestrian volume” at a single stairway at the Hoboken

   Terminal and PATH station. See DOT_0039957.

           On August 4, 2022—just 6 days before the Draft EA was published—NJDOT,

   NJTRANSIT, NJTA, and NJTPA attended a virtual briefing in which the Project Sponsors

   provided an “overview of the Draft EA.” DOT_0041634. While time was given for questions,

   this virtual informational meeting in no way rose to the level of meaningful engagement NEPA

   requires. Kootenai, 142 F. Supp. 2d at 1245. Indeed, the timing of the meeting shows that the

   Project Sponsors never seriously intended to consider any input from New Jersey’s agencies before

   publishing the Draft EA. At that point, the train had effectively left the proverbial station.

           On May 11, 2023—six days after the Final EA and Draft FONSI were published—NJDOT,

   NJTRANSIT, and NJTPA attended a virtual briefing that provided an overview of the Final EA.

   DOT_0043818.         This post-mortem clearly did not include an opportunity for meaningful

   consultation coming, as it did, after the documents’ publication. And no changes were made to

   either document before the Final FONSI was published in June.

           In addition, the general process for public comment demonstrates FHWA’s failure to

   engage. FHWA and the Project Sponsors provided only 30 days for public comments on the 4,000-

   plus page Draft EA and extended the time a mere two weeks due to public outcry. ECF 7-1 at 0-2.

   During that 44-day public comment period, FHWA and the Project Sponsors received more than

   14,000 individual submissions and 55,000 form letters. Id. 41 While the MTA now suggests that

   the sheer number of comments submitted evinces sufficient consultation, ECF 33-2 ¶¶ 45, 47,


   41 The FHWA and Project Sponsors did not formally invite public comments in response to the publication of the
       Final EA and Draft FONSI. Nevertheless, the public, New Jersey, and its agencies submitted comments. As
       the MTA and TBTA now admit, the FHWA and Project Sponsors made no changes to the Final EA or FONSI
       in light of these comments. ECF 33-1 ¶ 55.


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   “[n]either the number of meetings nor the volumes of comments are instructive by themselves if

   the evidence suggests that the decision-making process was used to rationalize or justify decisions

   already made,” Kootenai, 142 F. Supp. 2d. at 1246. The evidence here, including an unnecessarily

   short comment period, suggests just that. 42

           FHWA and the Project Sponsors also provided insufficient responses to public comments.

   The MTA claims that they responded to each of the “nearly 70,000 public input submissions on

   the Draft EA,” ECF 33-1 at 8, but the responses in the Final EA suggest that FHWA and the

   Project Sponsors responded to far less. 43 “[T]his is strong evidence that[,] because of the hurried

   nature of this process[,] [FHWA] was not well informed enough to present a coherent proposal or

   meaningful dialogue and that the end result was pre-determined.” Kootenai, 142 F. Supp. 2d. at

   1247. FHWA therefore deprived New Jersey (and the public) of any meaningful consultation into

   the EA process, despite NEPA’s requirements.

           E.       The Final EA Failed to Take a Hard Look at Alternatives

           The Final EA’s analysis is also arbitrary and capricious and fails to meet the hard look

   standard because it fails to consider alternatives that would have also decreased congestion in the

   CBD but with less collateral damage. ECF 1-4 at 5–7. NEPA requires federal agencies to study

   in detail all reasonable alternatives to actions significantly affecting the quality of the human

   environment, Sierra Forest Legacy v. Rey, 577 F.3d 1015, 1021–22 (9th Cir. 2009) (citing 40

   C.F.R. § 1502.14(a)), and the existence of a “viable but unexamined alternative” renders the EA



   42 Moreover, all of the public “hearings” that followed the publication of the Draft EA occurred “within 12
      business days of the end of the . . . comment period” (before the comment period was extended an additional
      two weeks). Kootenai, 142 F.Supp.2d at 1246–47 (finding “comment period was grossly inadequate and thus
      deprived the public of any meaningful dialogue or input into the process”). Leaving those hearings to the last
      minute underscored how not seriously FHWA and the Project Sponsors took them.
   43 Appendix 18C to the Final EA reproduces “all comments and responses.” ECF 7-6 at 18-23. Despite receiving
      “nearly 70,000 comments,” Appendix 18C is only 28,688 pages long, with many comments and responses
      spanning several pages.


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   process deficient. Muckleshoot Indian Tribe v. U.S. Forest Serv., 177 F.3d 800, 814 (9th Cir.

   1999) (per curiam) (agency violated NEPA by considering but preliminarily dismissing several

   viable alternatives). Thus, an agency may not “contrive a purpose so slender as to define

   competing ‘reasonable alternatives’ out of consideration (and even out of existence).” Simmons

   v. U.S. Army Corps of Eng’rs., 120 F.3d 664, 666 (7th Cir. 1997). Nor may an agency consider

   only a no action alternative on the one hand and a series of “virtually identical” alternatives on the

   other. Muckleshoot, 177 F.3d at 813. Instead, the reviewing court must ensure that the agency

   gathered information sufficient to permit a reasoned choice of distinct and viable alternatives. Nat.

   Res. Defense Council, Inc. v. Morton, 458 F.2d 827, 836 (D.C. Cir. 1972).

            NEPA prohibits an agency from “narrowly defin[ing] [a project’s] purpose and need so as

   to winnow down the alternatives until only the desired one survives.” Klamath-Siskiyou Wildlands

   Ctr. v. U.S. Forest Srv., 373 F.Supp.2d 1069, 1088 (E.D. Cal. 2004). But that’s what happened

   here. As a result, FHWA’s alternatives analysis was doomed by design. As an initial step in the

   NEPA review process, FHWA and the Project Sponsors defined the project’s purpose and need as

   “reduc[ing] traffic congestion in the CBD in a manner that will generate revenue for future

   transportation improvements, pursuant to acceptance into FHWA’s VPPP.” ECF 7-1 at 1-10. To

   further refine that, FHWA and the Project Sponsors defined three objectives: (1) reduce daily VMT

   within the CBD by at least 5%; (2) reduce the number of vehicles entering the CBD daily by at

   least 10%; and (3) generate sufficient annual net revenues to fund $15 billion for MTA capital

   projects. Id. at 2-5. These objectives were, in turn, used to decide which alternatives would

   actually be evaluated. 44 They also mirrored the requirements of the TMA. N.Y. Veh. & Traf.

   Law § 1704-a(1)).


   44   The Final EA did not include the fourth Project goal as one of these objectives—“Establish a tolling program
        consistent with the purposes underlying the New York State legislation.” ECF 7-1 at 2-5.


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          The details of FHWA’s alternatives “assessment” demonstrate that the agency only ever

   intended to evaluate—and approve—the congestion pricing scheme at issue. During the initial

   “screening evaluation”—i.e., before a fulsome NEPA evaluation—if one of the potential

   alternatives did “not meet one or more of the three Project objectives used for screening, [it was]

   dismissed [] from further consideration as an alternative that is not reasonable.” ECF 7-1 at 2-5.

   Of the eleven alternatives considered, Alternatives T-2, O-4, and O-5 each “meets” the criteria for

   Objectives 1 and 2—they would sufficiently reduce congestion in the Manhattan CBD—but failed

   to meet Objective 3’s funding source obligation. Id. at 2-6. FHWA and the Project Sponsors thus

   rejected all three outright without any further analysis. Id. at 2-5; Ex. 9.




          The failure to fully analyze alternatives that would also reduce VMT and the number of

   vehicles entering the CBD—thereby satisfying the congestion pricing scheme’s key environmental

   objectives—violated NEPA’s hard look standard, which requires an agency take a “hard look” at

   viable alternatives before making a decision. NEPA does not allow an agency to first make a

   decision—in this case, approving the congestion pricing scheme—and justify it later. Wildearth


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   Guardians v. U.S. Bureau of Land Mgmt., 457 F. Supp. 3d 880, 890–91 (D. Mont. 2020) (NEPA

   violated where agency “stat[ed] summarily . . . there was no need to analyze . . . alternative[s]”).

   FHWA’s singular focus on raising money for Intervenors even in the face of viable alternatives

   that would sufficiently decrease congestion falls far short of its NEPA obligations. Simmons, 120

   F.3d at 669 (agency failed to comply with its “duty under NEPA to exercise a degree of skepticism

   in dealing with self-serving statements from a prime beneficiary of the project” (citation omitted)).

   This left FHWA considering only the No Action Alternative and meant that the scheme, which it

   deemed “the only reasonable build alternative,” was “the only build alternative evaluated in detail

   in th[e] EA.” ECF 7-1 at 2-5 (emphases added).

          The problem with FHWA’s outright dismissals of other alternatives is compounded by its

   lack of explanation for doing so. For instance, Alternative O-5 would institute carpooling by

   preventing single occupant vehicles from entering the CBD on weekdays from 6 am to 10 am.

   ECF 7-1 at 2-4. FHWA provided no explanation for rejecting this alternative, even though carpool

   lanes are listed as one of FHWA’s “congestion pricing strategies.” Id. at 2-3. Likewise,

   Alternative T-2 proposed a toll on the currently untolled East River and Harlem River crossings

   into Manhattan. Id. at 2-4. In rejecting this alternative in the Draft EA, FHWA acknowledged

   earlier studies concluding that “this alternative would reduce congestion and could raise toll

   revenues equivalent to Project objectives” but nonetheless rejected it outright because “there is no

   law or agreement in place between the City of New York and MTA that would direct the revenue

   to MTA to support the Capital Program.” Id. at 2-7. When the Final EA was issued, FHWA relied

   on a fifteen-year-old study suggesting that this alternative might adversely affect two

   environmental justice communities—far fewer than the instant congestion pricing scheme—but

   did not update the study or conduct any further diligence. Id. FHWA’s failure to analyze an




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   alternative that would reduce congestion while potentially affecting far fewer environmental

   justice communities underscores the Final EA’s and FONSI’s flaws, contradicts the purported

   goals of the project, and fails to satisfy FHWA’s obligation to examine all viable alternatives.

   Muckleshoot, 177 F.3d at 814; W. Watersheds Project v. Bernhardt, 543 F.Supp.3d 958, 981 (D.

   Idaho 2021); Pub. Emps. For Env’t Resp. v. U.S. Fish & Wildlife Serv., 177 F. Supp. 3d 146, 156

   (D.D.C. 2016) (permitting agency to evade review of alternatives “has the potential to eviscerate

   NEPA”).

          F.      FHWA Failed to Conduct a Transportation Conformity Analysis in Violation
                  of the Clean Air Act

          The CAA sets forth the framework and goals for improving air quality to protect public

   health and the environment by mandating the establishment of NAAQS. 42 U.S.C. §§ 7401 et seq.

   If a State fails to meet one or more of those standards, it must develop and obtain EPA approval

   of a State Implementation Plan (“SIP”) to achieve them. Id. § 7410. The CAA conditions FHWA

   authorization of any project, program, or plan on conformance to the applicable SIP(s). Id.

   § 7506(c)(1). To that end, the CAA requires FHWA to conduct a conformity analysis and

   determination for all new transportation projects, id. § 7506(c); 40 C.F.R. § 93.150(b), and provide

   “reasonable opportunity for consultation” on transportation conformity to the EPA, state air

   agencies, and local air quality and transportation agencies before making conformity

   determinations, 40 C.F.R. § 93.105.

          There is no dispute that the CAA’s conformity requirements apply to the congestion pricing

   scheme and that FHWA completed a conformity analysis for New York’s SIP. 40 C.F.R.

   § 93.102(a)(1)(iii) (“[C]onformity determinations are required for . . . [t]he approval, funding, or

   implementation of FHWA/FTA projects.”); ECF 7-5 at 10-49. There is also no dispute FHWA

   did not perform a conformity analysis for New Jersey’s SIP, and did not consult the required



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   agencies. 42 U.S.C. § 7506(c). These failures violated the CAA and were arbitrary and capricious

   because FHWA identified pollutant increases that go beyond state borders. 5 U.S.C. § 706(2)(A).

                  1.      The Failure to Conduct a Conformity Analysis for New Jersey
                          Violates the CAA and Was Arbitrary and Capricious

          An agency action that “violates [a statute] is ‘not in accordance with law’ within the

   meaning of 5 U.S.C. § 706(2)(A).” Chrysler Corp. v. Brown, 441 U.S. 281, 318 (1979); Ethyl

   Corp. v. EPA, 306 F.3d 1144, 1150 (D.C. Cir. 2002). Courts “must set aside an agency’s action

   where it failed to consider mandatory factors set forth by statute or in a regulation.” Nat. Res. Def.

   Council v. EPA, 638 F.3d 1183, 1190 (9th Cir. 2011). Here, FHWA had to analyze congestion

   pricing’s effects beyond New York’s borders where the EA identified (1) air quality impacts in

   New Jersey, or (2) regional air quality impacts that would encompass areas in New Jersey. 42

   U.S.C. § 7506(c).     Instead, FHWA disregarded mandatory factors under the CAA and its

   implementing regulations. Because the CAA imposes on FHWA an affirmative responsibility to

   assure conformity, 42 U.S.C. § 7506(c)(1), FHWA must confirm that all transportation plans or

   projects conform to any relevant SIP, including addressing potential localized emissions impacts

   on health-based pollutant standards, before approving, accepting, or funding any transportation

   plans or projects. FHWA did this for New York, but not New Jersey.

          Moreover, FHWA failed to consider congestion pricing’s impact on New Jersey emissions

   levels. State Farm, 463 U.S. at 43 (agency action is arbitrary and capricious where it “entirely

   failed to consider an important aspect of the problem”). Parts of New Jersey that will, according

   to the EA, be impacted by congestion pricing are nonattainment areas for ozone, and maintenance

   for PM2.5 and carbon monoxide. ECF 7-5 at 10-4. NYSDOT and FHWA knew this. In September

   2021, NYSDOT sent a letter to FHWA requesting approval of new transportation conformity

   determinations for the New York portions of four areas—including three that include parts of New



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   Jersey: (1) New York-Northern New Jersey-Long Island, NY-NJ-CT PM2.5 Maintenance Area; (2)

   New York-Northern New Jersey-Long Island, NY-NJ-CT Ozone Nonattainment Area; and (3)

   New York-Northern New Jersey-Long Island, NY-NJ-CT Carbon Monoxide maintenance area.

   DOT_0039319 at DOT_0039319. In doing so, NYSDOT put FHWA on notice that the covered

   projects affected more than just New York. Id. Yet, FHWA failed to require more than

   NYSDOT’s analysis despite FHWA’s express finding that the congestion pricing scheme will

   cause increased air pollution in New Jersey. See supra IV.A.; ECF 7-5 at 10-50. That conclusion

   required FHWA to consider the project’s effects on New Jersey’s compliance with NAAQS, and

   its failure to do so both violates the CAA and is arbitrary and capricious.

                    2.       FHWA’s Failure to Consult Relevant New Jersey Agencies Violates the
                             CAA and is Arbitrary and Capricious

            FHWA was also required to provide a reasonable opportunity for consultation with state

   and local transportation environmental agencies before making conformity decisions. 40 C.F.R.

   § 93.105(a)(2) (agencies “must provide reasonable opportunity for consultation with State air

   agencies, local air quality and transportation agencies, DOT, and EPA”) (emphasis added). In fact,

   FHWA itself has required conformity analyses for both New York and New Jersey’s SIPs for

   similar projects in the tri-state area. 45 But here, despite regulations requiring it, FHWA failed to

   provide a “reasonable opportunity for consultation” on the congestion pricing scheme’s

   transportation conformity in New Jersey to the EPA and other consultation partners, including

   NJDEP. See 40 C.F.R. § 93.105(a)(2). Indeed, FHWA never contacted NJDEP. See supra IV.D.

   As the agency tasked with implementation of the CAA in New Jersey and responsible for its SIP,

   NJDEP should have been consulted on conformity. N.J. Stat. § 26:2C-8.11. FHWA’s inexplicable


   45   Cross Harbor Freight Program, Environmental Impact Statement (“EIS Methodology”), at C-17 (Sept. 2010),
        https://web.archive.org/web/20101227103306/http://www.panynj.gov/about/pdf/EIS-Methodology-Draft-
        Appendices.pdf.


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   failure to do so is further evidence that FHWA failed to provide consultation required under the

   CAA and, in turn, § 706(2)(A).


                                        V.      CONCLUSION

          For all these reasons, Plaintiff respectfully requests that the Court grant its Motion for

   Summary Judgment.



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